Case 2:21-mc-01230-JFC         Document 3018   Filed 10/24/24   Page 1 of 23




               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: PHILIPS RECALLED CPAP, BI-
LEVEL PAP AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY
LITIGATION                                      Master Docket No. 21-mc-1230

This document relates to: All Actions           MDL No. 3014
Asserting Claims for Personal Injury
Brought by SoClean Users


KONINKLIJKE PHILIPS N.V., PHILIPS
NORTH AMERICA LLC, PHILIPS
HOLDING USA, INC., PHILIPS RS
NORTH AMERICA LLC, and PHILIPS RS
NORTH AMERICA HOLDING
CORPORATION,

             Defendants / Third-Party
             Plaintiffs,

                    -v-

SOCLEAN, INC., and DW
MANAGEMENT SERVICES, LLC,

             Third-Party Defendants.




 THE PHILIPS PARTIES’ OPPOSITION TO THIRD-PARTY DEFENDANTS’
               MOTIONS TO DISMISS OR TO STRIKE
      THE MASTER THIRD-PARTY CONTRIBUTION COMPLAINT
       Case 2:21-mc-01230-JFC                         Document 3018                 Filed 10/24/24              Page 2 of 23




                                                   TABLE OF CONTENTS

                                                                                                                                  PAGE

PRELIMINARY STATEMENT .....................................................................................................1

ARGUMENT ...................................................................................................................................3

I.        The Court Should Reject SoClean’s Newly Minted Personal Jurisdiction Challenge. .......4

II.       This Court Should Not Exercise Its Discretion To Strike the Master Complaint. ...............5

          A.         The Personal Injury Master Settlement Agreement Does Not Destroy the Court’s
                     Supplemental Subject-Matter Jurisdiction. ..............................................................7

          B.         The Philips Parties’ Contribution Claims Are Permissible Under Rule 14,
                     Dispelling Any Ripeness Concerns. ........................................................................9

          C.         Contrary to SoClean’s Argument, Striking the Master Complaint Would
                     Massively Complicate the Contribution Litigation and Prejudice the Parties. ......12

CONCLUSION ..............................................................................................................................15




                                                                    -i-
       Case 2:21-mc-01230-JFC                        Document 3018                  Filed 10/24/24             Page 3 of 23




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Andrulonis v. United States,
   26 F.3d 1224 (2d Cir. 1994).....................................................................................................10

Arthur Glick Truck Sales v. H.O. Penn Mach. Co.,
   332 F. Supp. 2d 584 (S.D.N.Y. 2004)........................................................................................7

Bachtell v. Gen. Mills,
   2020 WL 247171 (M.D. Pa. Jan. 15, 2020) ...............................................................................9

Bielstein v. Signature Solar Ltd. Liab. Co.,
    2024 U.S. Dist. LEXIS 19358 (W.D. Pa. Feb. 5, 2024) ............................................................5

Borough of West Mifflin v. Lancaster,
   45 F.3d 780 (3d Cir. 1995).........................................................................................................8

Bristol-Myers Squibb Co. v. Superior Court,
    582 U.S. 255 (2017) ...................................................................................................................4

In re Cendant Corp. Deriv. Action Litig.,
    96 F. Supp. 2d 394 (D.N.J. 2000) ............................................................................................10

Clinton Beverage Grp. v. Depersia,
    2008 WL 1734184 (E.D. Pa. Apr. 14, 2008) .............................................................................6

Cmty. Ass’n Underwriters of Am. v. Queensboro Flooring Corp.,
  2016 WL 1728388 (M.D. Pa. Apr. 29, 2016) ............................................................................5

Davis Pickering & Co. v. Worley Field Servs.,
   2023 WL 2163886 (E.D. Pa. Feb. 22, 2023) .............................................................................9

Doe v. Mercy Catholic Med. Ctr.,
   850 F.3d 545 (3d Cir. 2017).......................................................................................................7

In re Ford Motor Co. Ignition Switch Prods. Liab. Litig.,
    19 F. Supp. 2d 263 (D.N.J. 1998) ..............................................................................................2

Forrester Lincoln Mercury v. Ford Motor Co.,
   2012 WL 1642760 (M.D. Pa. May 10, 2012) ..........................................................................15

In re Generic Pharmas. Pricing Antitrust Litig.,
    2024 WL 2977896 (E.D. Pa. May 22, 2024) .............................................................................6



                                                                   -ii-
       Case 2:21-mc-01230-JFC                     Document 3018               Filed 10/24/24            Page 4 of 23




Gonzalez v. New Jersey,
   2019 WL 291162 (D.N.J. Jan. 23, 2019) .................................................................................12

Grant v. UPMC Pinnacle Hosps.,
   2021 WL 1516464 (M.D. Pa. Apr. 16, 2021) ............................................................................3

Hecht v. Summerlin Life & Health Ins. Co.,
   536 F. Supp. 2d 1236 (D. Nev. 2008) ......................................................................................11

Hickerson-Cooper v. Dollar Gen. Corp.,
   2024 WL 2874035 (D.N.J. June 7, 2024) ..................................................................................2

J.V. Mfg. v. Dematic Corp.,
    2023 U.S. Dist. LEXIS 47521 (W.D. Pa. 2023) ......................................................................10

Katz v. Spiniello Cos.,
   2016 WL 7209662 (D. Mass. Dec. 12, 2016) ............................................................................5

McCaffrey v. Windsor at Windermere Ltd. P’ship,
  2017 WL 5483772 (E.D. Pa. Nov. 15, 2017) ............................................................................4

McClure v. City of Harrisburg,
  2014 WL 4828869 (M.D. Pa. Sept. 29, 2014) ...........................................................................9

Mechin v. Carquest Corp.,
   2010 WL 3259808 (D.N.J. Aug. 17, 2010) ...............................................................................2

In re Mentor Corp. Obtape Transobturator Sling Prods. Liab. Litig.,
    2009 WL 3681986 (D.N.J. Nov. 4, 2009) .................................................................................6

Milhouse v. Rajjoub,
   2019 WL 2567680 (M.D. Pa. June 21, 2019) ............................................................................9

Millers Cap. Ins., Co. v. Hydrofarm,
   340 F.R.D. 198 (D.D.C. 2022) .................................................................................................10

Mount Pocono Municipal Auth. v. RKR Hess,
  2021 WL 3674639 (M.D. Pa. Aug. 19, 2021) ...........................................................................9

Nat’l Union Fire Ins. Co. v. FDIC,
   887 F. Supp. 262 (D. Kan. 1995) .............................................................................................10

Owoh v. PHH Mortg. Servs.,
  2021 WL 3400774 (D.N.J. Aug. 4, 2021) .................................................................................8

R.Q.C. Ltd. v. JKM Enters.,
   2014 WL 4792148 (W.D. Pa. Sept. 23, 2014) ...........................................................................2



                                                              -iii-
        Case 2:21-mc-01230-JFC                          Document 3018                   Filed 10/24/24               Page 5 of 23




Robertson v. McCarte,
   433 N.E.2d 1262 (Mass. App. Ct. 1982) .................................................................................10

Sea-Land Serv. v. United States,
   689 F. Supp. 450 (D.N.J. 1988) ...............................................................................................10

Shuker v. Smith & Nephew, PLC,
   885 F.3d 760 (3d Cir. 2018).......................................................................................................5

Various Plaintiffs v. Various Defendants (Oil Field Cases),
   673 F. Supp. 2d 358 (E.D. Pa. 2009) .........................................................................................3

In re Vioxx Prods. Liab. Litig.,
    239 F.R.D. 450 (E.D. La. 2006)...............................................................................................11

Willyoung v. Colo. Custom Hardware,
   2009 WL 3183061 (W.D. Pa. Sept. 30, 2009) ...........................................................................4

Other Authorities

FED. R. CIV. P. 12 ................................................................................................................... 5-6, 13

FED. R. CIV. P. 14 ............................................................................................................... 2, 5, 9-12

ROBERT S. FISCHLER & HARVEY J. WOLKOFF, 1 BUS. & COM. LITIG. FED. CTS.
  (2022) .........................................................................................................................................9




                                                                      -iv-
     Case 2:21-mc-01230-JFC            Document 3018         Filed 10/24/24       Page 6 of 23




                                PRELIMINARY STATEMENT

               Erecting one procedural ploy after another, SoClean, Inc. (“SoClean”) and DW

Management Services, LLC (“DW”) have delayed facing these basic contribution claims for

months. In March 2024, they objected to the use of a master third-party complaint to bring these

claims (ECF No. 2675), ultimately requiring Special Master Katz to issue a Report and

Recommendation (ECF No. 2708) that this Court agreed with in Pre-Trial Order No. 31 (ECF No.

2745). Then, SoClean and DW persisted in claiming that documents produced in MDL No. 3021

were precluded from use in MDL No. 3014. (MDL No. 3021, ECF No. 692.) Again, after briefing

and argument, the Court rejected their delay-driven argument. (ECF Nos. 2961, 2975; MDL No.

3021, ECF No. 702.) Most recently, counsel for SoClean and DW have refused even to participate

in the mandatory Rule 26(f) conference, thus bypassing the Court and granting themselves their

own stay of discovery.

               The instant motion is more baseless procedural make-work. The Philips parties

clearly allege that SoClean, under DW’s control, illegally marketed and sold PAP cleaners to

Philips RS PAP users throughout the United States, including in Pennsylvania. SoClean’s ozone

cleaners caused or contributed to the personal injuries allegedly suffered by device users in at least

two respects: (i) direct ozone inhalation and/or (ii) degradation of the foam in Philips RS PAPs.

(E.g., Am. Compl. ¶¶ 9-11, 15, 36-41, 47-53, 59, 66-81.) Device users who used SoClean’s

products on their Philips RS PAPs, including device users who are not the subject of the Personal

Injury Master Settlement Agreement, are suing the Philips parties for damages for their alleged

personal injuries. As a result, SoClean and DW must answer for their conduct, and there is no

good reason to allow them to continue to avoid these contribution claims.

               After voluntarily litigating claims in this District for almost three years, against not

only the Philips parties but also device users, SoClean now claims that this Court lacks personal


                                                 -1-
     Case 2:21-mc-01230-JFC             Document 3018        Filed 10/24/24      Page 7 of 23




jurisdiction over it. The Court should quickly dispense with this argument. SoClean sold its illegal

products to device users throughout Pennsylvania, including through its interactive website. (See,

e.g., Am. Compl. ¶¶ 8, 61, 64.) And device users from Pennsylvania who used SoClean’s products

on their PAP machines are alleging personal injury. (Compare, e.g., ECF Nos. 1508, 2070, with

Exs. A & B.) These facts are more than enough to withstand SoClean’s newfound jurisdictional

challenge. See, e.g., R.Q.C. Ltd. v. JKM Enters., 2014 WL 4792148, at *4 (W.D. Pa. Sept. 23,

2014) (“[M]ost courts have concluded that a defendant that intentionally conducts business

transactions over an interactive website with customers in the forum state has purposefully directed

itself of the laws of that forum.”).1

                SoClean’s alternative Rule 14(a)(4) motion also fails. It defies logic that the goals

of efficiency and consistency would be served by punting this litigation to at least 34 different

courts around the country. See Mechin v. Carquest Corp., 2010 WL 3259808, at *5 (D.N.J.

Aug. 17, 2010) (burdens of third-party complaints “must be weighed against the alternative

prospect of two separate trials and the need for attempting to coordinate, and in the end possibly

consolidate, the matter for the sake of judicial economy”); Hickerson-Cooper v. Dollar Gen.

Corp., 2024 WL 2874035, at *4 (D.N.J. June 7, 2024) (same). Striking the complaint would waste

a massive amount of party and judicial resources, and the Court is well within its discretion to

retain supplemental subject-matter jurisdiction given the profound inefficiencies and remarkable

delay that would be introduced by striking the complaint. See In re Ford Motor Co. Ignition Switch

Prods. Liab. Litig., 19 F. Supp. 2d 263, 297-70 (D.N.J. 1998) (finding that “[i]t is unquestionably



1
       To the extent SoClean is seriously arguing that it did not sell its products to device users in
Pennsylvania, the Court should order SoClean to engage in expedited jurisdictional discovery.
This discovery should include, at a minimum, discovery of SoClean’s customer lists and all of its
marketing and sales in the Commonwealth.

                                                 -2-
     Case 2:21-mc-01230-JFC           Document 3018         Filed 10/24/24      Page 8 of 23




the case that the values of economy, convenience, and fairness all weigh in favor of the exercise

of supplemental jurisdiction”). SoClean’s ripeness challenge also stands in direct contrast to Third

Circuit law, which permits third-party complaints for contribution even before a settlement or

resolution of the underlying claim. See Grant v. UPMC Pinnacle Hosps., 2021 WL 1516464, at

*2 (M.D. Pa. Apr. 16, 2021) (rejecting argument that “contribution and indemnity claims can only

become ripe once [defendants] are actually compelled to pay damages”). Finally, SoClean’s

analysis of state contribution law mischaracterizes the claims in the Complaint and even the

precedents cited in SoClean’s own brief. (E.g., SoClean Br. at 14 (citing case applying Kansas

law to purportedly explain Nebraska law).)

               The Court should deny SoClean’s and DW’s motions.2

                                          ARGUMENT

               SoClean’s objections to the Master Complaint, including, in particular, its personal

jurisdiction, ripeness, and subject-matter jurisdiction challenges, are procedural. Third Circuit law

therefore applies to those challenges. “On matters of procedure, the transferee court must apply

federal law as interpreted by the court of the district where the transferee court sits.” Various

Plaintiffs v. Various Defendants (Oil Field Cases), 673 F. Supp. 2d 358, 362 (E.D. Pa. 2009); see

MDL No. 3021, ECF No. 480 at 27. To the extent SoClean’s challenges are based on individual

state law, those are addressed in the sections below.




2
        With regard to DW’s separate challenge to personal jurisdiction (ECF No. 2997), the
Court’s rulings following the upcoming evidentiary hearing in MDL No. 3021 will be dispositive
of the personal jurisdiction argument in this contribution action as well. As a result, the Philips
parties incorporate by reference all their arguments and briefs from that action here. Given those
proceedings and the upcoming evidentiary hearing, there is no need for the Court or the parties to
separately litigate the DW personal jurisdiction issue here.

                                                 -3-
     Case 2:21-mc-01230-JFC           Document 3018         Filed 10/24/24     Page 9 of 23




I.     The Court Should Reject SoClean’s Newly Minted Personal Jurisdiction Challenge.

                SoClean’s personal jurisdiction objection is based on the supposed “fail[ure] to

allege facts” that SoClean is subject to specific personal jurisdiction in Pennsylvania. (SoClean

Br. at 5.) In fact, the necessary showing—an “affiliation between the forum and the underlying

controversy, principally, an activity or an occurrence that takes place in the forum State”—is

plainly met here. Bristol-Myers Squibb Co. v. Superior Court, 582 U.S. 255, 264 (2017).

                SoClean illegally marketed PAP cleaning machines across the country, including

to Pennsylvanians—and including for the specific purpose of getting them to buy SoClean’s

products for use with their Philips RS PAPs. (E.g., Am. Compl. ¶¶ 8, 61, 64.) SoClean sold its

devices into the Commonwealth through, among other means, its interactive website.              See

SoClean,        https://www.soclean.com/soclean3/product/soclean-3-complete?id=sc3-complete-

global-nav-click (last visited Oct. 24, 2024); Willyoung v. Colo. Custom Hardware, 2009 WL

3183061, at *12 (W.D. Pa. Sept. 30, 2009) (activity was directed to forum because defendant’s

“website [was] interactive in the sense that it allow[ed] users to purchase merchandise online”).

SoClean’s machines exposed users, including in Pennsylvania, to dangerous levels of ozone gas,

leading to the same sort of respiratory harms for which the Philips parties are alleged to have been

responsible. (Am. Compl. ¶¶ 31-66.) SoClean’s machines also accelerated and exacerbated the

degradation of the foam in Philips RS PAPs. (Id. ¶¶ 1, 3, 67-81.) And Pennsylvania residents who

used SoClean’s products have alleged that they suffered a personal injury. (See, e.g., ECF No.

1508 (short-form complaint of David Janus, Sr. alleging personal injury); Ex. A at 16 (

                                     ); ECF No. 2070 (short-form complaint of Helen Mannion);

Ex. B at 16 (                                                  ).)

                These facts more than sufficiently establish a “link between [the Philips parties’]

cause of action and [SoClean’s] forum-related activities.” McCaffrey v. Windsor at Windermere

                                                -4-
      Case 2:21-mc-01230-JFC          Document 3018         Filed 10/24/24      Page 10 of 23




Ltd. P’ship, 2017 WL 5483772, at *4 (E.D. Pa. Nov. 15, 2017).3 As a result, SoClean’s Rule

12(b)(2) motion should be denied.4

II.     This Court Should Not Exercise Its Discretion To Strike the Master Complaint.

               SoClean next asks the Court to exercise its discretion to strike the Master Complaint

under Rule 14(a)(4). To be sure, courts have such discretion, but exercising it is “not favored,”

and motions to strike “usually will be denied unless the allegations have no possible relation to the

controversy and may cause prejudice to one of the parties.” Cmty. Ass’n Underwriters of Am.

v. Queensboro Flooring Corp., 2016 WL 1728388, at *2 (M.D. Pa. Apr. 29, 2016); see Katz



3
        If SoClean is making a good-faith argument that it did not market and sell its devices in
the Commonwealth, the Court should order narrowly-tailored jurisdictional discovery, with a
particular focus on SoClean’s customer lists and SoClean’s marketing and sales into Pennsylvania.
SoClean’s own cases endorse this approach. See Shuker v. Smith & Nephew, PLC, 885 F.3d 760,
780, 782 n.21 (3d Cir. 2018) (plaintiffs were entitled to jurisdictional discovery to analyze stream-
of-commerce theory of specific personal jurisdiction and noting that “evidence adduced from such
discovery” would provide basis “to seek leave . . . to amend”); Bielstein v. Signature Solar Ltd.
Liab. Co., 2024 U.S. Dist. LEXIS 19358, at *3 (W.D. Pa. Feb. 5, 2024) (analyzing specific
personal jurisdiction allegations regarding website after the conclusion of jurisdictional
discovery). To date, SoClean has refused to produce its customer lists, including identification of
those individuals who purchased SoClean products from its interactive website. Any hypothetical
“jurisdictional” concern SoClean may have would be resolved by production of these lists.
4
         SoClean also confusingly argues that “there is no transferor court from which the Court
may draw any jurisdictional authority over SoClean or to which the Third-Party Complaint could
be transferred following pretrial proceedings.” (SoClean Br. at 2.) Here, SoClean is just rehashing
its prior objection to the master complaint process. But that issue was resolved seven months ago
in the Philips parties’ favor. (ECF No. 2745.) The pleading here is a master complaint, not a
standalone complaint that will be remanded in whole following pretrial proceedings. Rather, as
the Philips parties have previously proposed, the parties should develop a proposal for the Court’s
approval on the selection of bellwethers after the expiration of the termination deadline for the
Personal Injury Master Settlement Agreement. (See ECF No. 2925-1 at 4 n.7; Sept. 19, 2024 CMC
Tr. at 14.) The venue for trying those bellwethers is a question for a later date (some trials may
take place in this District and some may not, depending on which bellwethers are selected), but
concerns regarding venue do not affect this Court’s personal jurisdiction over SoClean. Moreover,
contrary to SoClean’s footnote (SoClean Br. at 9 n.1), the Philips parties never said the Court
would “self-assign” bellwether trials. Rather, as the Philips parties stated in their scheduling
proposal (ECF No. 2925-1 at 5-7), both sides should work together on proposing a bellwether
selection process for the Court’s approval.

                                                 -5-
    Case 2:21-mc-01230-JFC            Document 3018         Filed 10/24/24      Page 11 of 23




v. Spiniello Cos., 2016 WL 7209662, at *6 (D. Mass. Dec. 12, 2016) (“[T]o the extent that Rule

14(a)(4) is analogous to Rule 12(f), which governs non-third-party motions to strike, such motions

are . . . disfavored in practice and not calculated readily to invoke the court’s discretion.”). The

Court has no basis to exercise that discretion here, where the circumstances differ from those where

motions to strike should be granted: where the “third-party complaint would introduce an

unrelated controversy or unduly complicate the case at trial.” Clinton Beverage Grp. v. Depersia,

2008 WL 1734184, at *1 (E.D. Pa. Apr. 14, 2008).

               Although SoClean claims the “Complaint does nothing more than unduly

complicate this matter” (SoClean Br. at 4), the opposite is true. SoClean is asking the Court to

exercise its discretion in a way that would require separate complaints and proceedings in 34

different jurisdictions. But the purpose of an MDL is to “promote the just and efficient conduct”

of proceedings. In re Mentor Corp. Obtape Transobturator Sling Prods. Liab. Litig., 2009 WL

3681986, at *2 (D.N.J. Nov. 4, 2009). Striking the Master Complaint would remove all of these

claims from the Court’s purview and require separate pleadings, discovery and motion practice in

34 separate courts. SoClean’s proposal would burden claimants as well as dozens of courts and

result in unnecessary and duplicative discovery, when all such issues can be more effectively

streamlined through the one court (and the special masters) already familiar with the central facts.

Worse still, pre-trial proceedings in 34 different jurisdictions runs the significant risk of

inconsistent outcomes on pre-trial motions. See In re Generic Pharmas. Pricing Antitrust Litig.,

2024 WL 2977896, at *3 (E.D. Pa. May 22, 2024) (forcing defendant to “litigate in two courts

simultaneously” will “severely prejudice Defendants” and “risk[s] inconsistent outcomes”). None

of SoClean’s proffered rationales justifies creating these gross inefficiencies and risks.




                                                 -6-
     Case 2:21-mc-01230-JFC                 Document 3018    Filed 10/24/24      Page 12 of 23




        A.       The Personal Injury Master Settlement Agreement Does Not Destroy the
                 Court’s Supplemental Subject-Matter Jurisdiction.

                 SoClean argues that, once the termination date under the Personal Injury Master

Settlement Agreement has expired in approximately two months, the settlement will “eliminate”

all claims over which this Court has original subject-matter jurisdiction. (SoClean Br. at 8.)

SoClean makes this argument to attempt to convince the Court not to exercise its supplemental

subject-matter jurisdiction over the contribution claims. (Id. at 6-9.) This argument fails for two

reasons: First, in painting with the broadest of brushes, SoClean ignores the claims of non-settling

plaintiffs, including those plaintiffs ineligible for the settlement. Second, even for the settling

plaintiffs, it is also legally incorrect.

                 Claims of Non-Settling Plaintiffs. The Court does not have a basis to forgo

supplemental jurisdiction over those actions not subject to the settlement. SoClean acknowledges

that the settlement will result in dismissal only of “the claims of all settling plaintiffs.” (SoClean

Br. at 9 (emphasis added).) With respect to the claims of individuals ineligible for the settlement,

this Court has diversity jurisdiction. As SoClean’s own precedents show, unless all claims over

which a court has original jurisdiction are extinguished, it is inappropriate for a court to relinquish

supplemental jurisdiction. See, e.g., Doe v. Mercy Catholic Med. Ctr., 850 F.3d 545, 567 (3d Cir.

2017) (reversing dismissal of state law claims for lack of supplemental jurisdiction because “Title

IX retaliation and quid pro quo claims endure[d]” and provided original jurisdiction); Arthur Glick

Truck Sales v. H.O. Penn Mach. Co., 332 F. Supp. 2d 584, 586 (S.D.N.Y. 2004) (remanding case

only where “[n]o claims remain in which this court has original jurisdiction”).

                 Claims of Settling Plaintiffs. With respect to the individuals covered by the

settlement, the Court can and should exercise its discretion to maintain supplemental jurisdiction

over the contribution claims, including because it is the most experienced and convenient forum


                                                   -7-
     Case 2:21-mc-01230-JFC           Document 3018        Filed 10/24/24      Page 13 of 23




for the parties. These are the very “considerations” the Third Circuit cited as relevant to whether

district courts should exercise supplemental jurisdiction.        See Borough of West Mifflin

v. Lancaster, 45 F.3d 780, 788 (3d Cir. 1995) (citing “considerations of judicial economy,

convenience, and fairness to the parties” as “affirmative justification for” exercising supplemental

jurisdiction).

                 The case before the Court is the quintessential example of these considerations.

After three years of litigation, this Court is intimately familiar with the underlying facts, the

dangers of SoClean’s illegal products (including from a ”Science Day” and from the testimony of

two court-appointed FDA experts), the underlying claims for which the Philips parties seek

contribution, and the history of this litigation. The parties have extensively benefited from the

supervision of a discovery special master, who has worked tirelessly with counsel to manage

discovery proceedings and keep these cases on track. And the Court, as well as Special Master

Vanaskie, have become familiar with relevant legal principles through extensive briefing over the

past three years. Although the contribution claims will require some amount of individualized

discovery—at least for the bellwethers—SoClean fails to show how conducting that discovery for

all devices users in 34 separate jurisdictions around the country will somehow be more efficient

and less burdensome.5 In truth, in circumstances like these—where the judicial economy benefits

are obvious—courts in this Circuit have repeatedly exercised their discretion to maintain

supplemental jurisdiction. See Owoh v. PHH Mortg. Servs., 2021 WL 3400774, at *2 (D.N.J.

Aug. 4, 2021) (retaining supplemental jurisdiction where the court was “very familiar with this

case and has already expended the judicial resources to review the pleadings”); Milhouse


5
       Section 11.5 of the settlement also provides that “any disputes related to this [Master
Settlement Agreement] will be brought in the United States District Court for the Western District
of Pennsylvania (Conti, J.).” (ECF No. 2768-1, at 19.)

                                                -8-
    Case 2:21-mc-01230-JFC           Document 3018         Filed 10/24/24      Page 14 of 23




v. Rajjoub, 2019 WL 2567680, at *4 (M.D. Pa. June 21, 2019) (opting to exercise supplemental

jurisdiction “[i]n the interests of judicial economy, convenience, and fairness to the parties”);

McClure v. City of Harrisburg, 2014 WL 4828869, at *8 (M.D. Pa. Sept. 29, 2014) (exercising

supplemental jurisdiction “in the interests of judicial economy”).

       B.      The Philips Parties’ Contribution Claims Are Permissible Under Rule 14,
               Dispelling Any Ripeness Concerns.

               SoClean’s ripeness objection, which hinges on the fact that the settlement could

still be terminated within the next two months,6 departs from settled precedent. Contrary to

SoClean’s suggestion, the law governing Rule 14(a)(1) third-party complaints makes clear that the

Philips parties’ claims should proceed now. See, e.g., Bachtell v. Gen. Mills, 2020 WL 247171,

at *2 (M.D. Pa. Jan. 15, 2020) (“Rule 14(a)(1) authorizes a third-party plaintiff to bring an unripe

contribution claim against a third-party defendant, even though its actionability is contingent on

an underlying judgment being entered.”); Mount Pocono Municipal Auth. v. RKR Hess, 2021 WL

3674639, at *3 (M.D. Pa. Aug. 19, 2021) (“[C]ourts in this circuit routinely permit third-party

indemnification and contribution claims before the prime obligation to pay materializes.”); Davis

Pickering & Co. v. Worley Field Servs., 2023 WL 2163886, at *4 (E.D. Pa. Feb. 22, 2023) (“Third-

party claims that depend on or are derivative of the success of a party’s claims in underlying

litigation are not necessarily premature.”); ROBERT S. FISCHLER & HARVEY J. WOLKOFF, 1 BUS. &

COM. LITIG. FED. CTS. § 10:9 (2022) (“Although the third-party plaintiff must have a substantive

right to relief, the claim need not be ripe. Indeed, one of the principal purposes of third-party




6
       For this reason, SoClean’s ripeness challenge does not even apply to the contribution
claims for plaintiffs ineligible for the settlement.


                                                -9-
    Case 2:21-mc-01230-JFC             Document 3018         Filed 10/24/24       Page 15 of 23




practice is to achieve the efficiencies associated with ‘accelerating’ the adjudication of third-party

claims.”).7

               Tellingly, SoClean ignores the actual text of Rule 14(a)(1), which provides

considerable latitude for defendants to bring third parties into a lawsuit. In particular, a third-party

complaint may be served on “a[ny] non party who is or may be liable to [the defendant] for all or

part of the claim against [the defendant].” Fed. R. Civ. P. 14(a)(1) (emphasis added). This “may

be liable” language clearly permits impleader for contribution even if the claim for relief has not

yet accrued.

               SoClean relies on inapposite cases to claim there is a “general rule” that a claim for

“contribution does not arise until the party seeking contribution has paid.” (SoClean Br. at 10

(citing Sea-Land Serv. v. United States, 874 F.2d 169, 171 (3d Cir. 1989)).) But that is incorrect;

in fact, the primary case on which SoClean relies (along with the numerous others it cites) did not

even involve a third-party complaint brought under Rule 14(a)(1). See Sea-Land Serv. v. United

States, 689 F. Supp. 450, 451 (D.N.J. 1988) (the “instant suit” was brought in New Jersey under

the Public Vessels Act following dismissal of a third-party complaint in New York).8 In those


7
         For additional authority, see Andrulonis v. United States, 26 F.3d 1224, 1233 (2d Cir.
1994) (Rule 14(a)(1) “permits a defendant to bring in a third-party defendant even though the
defendant’s claim is purely inchoate . . . so long as the third-party defendant may become liable
for all or part of the plaintiff’s judgment”); Millers Cap. Ins., Co. v. Hydrofarm, 340 F.R.D. 198,
213 (D.D.C. 2022) (“[U]nder Rule 14, a claim for contribution need not have accrued in order for
a third-party plaintiff to seek indemnification from a third-party defendant.”); Nat’l Union Fire
Ins. Co. v. FDIC, 887 F. Supp. 262, 264 (D. Kan. 1995) (permitting impleader of third-party
defendant against third-party defendant “even though under Kansas substantive law those claims
have not yet accrued”).
8
        See also J.V. Mfg. v. Dematic Corp., 2023 U.S. Dist. LEXIS 47521 (W.D. Pa. 2023)
(“stand-alone [contribution] action,” not Rule 14(a) third-party complaint); In re Cendant Corp.
Deriv. Action Litig., 96 F. Supp. 2d 394, 395 (D.N.J. 2000) (complaint from shareholder derivative
plaintiff, not Rule 14(a) third-party complaint); Robertson v. McCarte, 433 N.E.2d 1262, 1263
(Mass. App. Ct. 1982) (contribution raised by plaintiffs in standalone action, not third-party
complaint).

                                                 -10-
    Case 2:21-mc-01230-JFC            Document 3018         Filed 10/24/24      Page 16 of 23




instances where contribution claims have been dismissed for lack of ripeness, they “dealt with

situations where the action to determine liability on the underlying claim and the indemnification

or contribution claim were brought in separate actions.” Hecht v. Summerlin Life & Health Ins.

Co., 536 F. Supp. 2d 1236, 1241 (D. Nev. 2008). In a similar vein, none of SoClean’s citations to

state contribution statutes (SoClean Br. at 10-11) explains how these laws are applied in the context

of Rule 14(a) complaints.      SoClean even acknowledges in its brief that its arguments are

inapplicable to the Rule 14(a)(1) paradigm. (See SoClean Br. at 11-12 (contrasting Second Circuit

case involving Rule 14(a)(1) third-party complaint with Third Circuit case involving standalone

contribution complaint).)

               SoClean next claims this case is not the “‘typical’ Rule 14 impleader, where the

parties are known and the injuries on which contribution is sought are identifiable.’” (Id. at 12.)

But again, the Court already anticipated and addressed any such concern by adopting a master

third-party complaint process to “avoid the inefficiencies of drafting individual personal injury

complaints and individual answers to those individual complaints at this stage of the litigation.”

(ECF No. 2745 at 1.) See In re Vioxx Prods. Liab. Litig., 239 F.R.D. 450, 453 (E.D. La. 2006)

(“Master complaints help the Court and the parties focus on common issues in an efficient and

effective manner.”). To be sure, the parties will need to engage in individual discovery for the

bellwethers, but the Philips parties have proposed that bellwether selection (and attendant

individual discovery) should not occur until after the settlement’s termination date. (See ECF No.

2925-1 at 4 n.7; Sept. 19, 2024 CMC Tr. at 14.)

               Finally, SoClean pretends that standard settlement provisions in the Personal Injury

Master Settlement Agreement somehow prevent the Philips parties from identifying individual

settling plaintiffs and their injuries from information provided under the settlement. (SoClean Br.



                                                -11-
    Case 2:21-mc-01230-JFC            Document 3018         Filed 10/24/24      Page 17 of 23




at 12.) But SoClean is simply misreading those provisions. SoClean claims Section 11.9 prohibits

the Philips parties from introducing “any Registration Form and the executed attachments thereto”

in any legal proceeding. (Id.) Section 11.9 includes a standard use restriction (“No Party or

claimant shall seek to introduce . . . in any judicial proceeding . . .”) as well as several standard

exclusions and carve-outs from that use restriction (“. . . except insofar as necessary to enforce the

terms of this Settlement or . . .”). (ECF No. 2768-1 at 19.) The phrase, “any Registration Form

and the executed attachments thereto,” upon which SoClean relies, falls among the carve-outs.

(Id.)9 Further, as noted on Page 6 of the settlement, “nothing [in the Master Settlement Agreement]

precludes the Philips Defendants from pursuing contribution claims against the Ozone Cleaning

Companies,” including SoClean.         (Id. at 6.)     As to Section 11.10, the “content of the

negotiations . . . and settlement discussions” (id. at 19) is plainly a reference to the settlement

negotiations with Judge Welsh, not the information provided by registrants on their registration

forms.

         C.    Contrary to SoClean’s Argument, Striking the Master Complaint Would
               Massively Complicate the Contribution Litigation and Prejudice the Parties.

               SoClean “has not put forward any non-conclusory reason that the issues asserted in

the Third-Party Complaint would be more effectively litigated” in separate proceedings around the

country. Gonzalez v. New Jersey, 2019 WL 291162, at *4 (D.N.J. Jan. 23, 2019) (denying Rule



9
        “No Party or claimant shall seek to introduce and/or offer the terms of this Settlement, any
statement, transaction, or proceeding in connection with the negotiation, execution, or
implementation of this Settlement, or any statements in the documents delivered in connection
with this Settlement, or otherwise rely on the terms of this Settlement, in any judicial proceeding,
except insofar as necessary to enforce the terms of this Settlement or the releases provided pursuant
to the Settlement, in connection with the determination of any income tax liability of a party, or in
relation to any instrument executed and delivered pursuant to this Settlement (including any
Registration Form and the executed attachments thereto).” (ECF No. 2768-1 at 19 (emphasis
added).)

                                                -12-
     Case 2:21-mc-01230-JFC           Document 3018         Filed 10/24/24      Page 18 of 23




14(a)(4) motion to strike third-party complaint). Although SoClean complains that “seeking

contribution under the law of 35[sic] different states . . . inject[s] undue complexity into this

litigation,” SoClean Br. at 13, SoClean never explains why resolving contribution claims in 34

different courts—the alternative to addressing these third-party claims in this one MDL court—

would somehow be the better and more efficient choice. In fact, in rejecting SoClean’s arguments

against the master complaint process, this Discovery Special Master made clear that differences in

state law was “not a reason to delay the filing of Defendants’ contribution claims through a master

complaint.” (ECF No. 2708, at 3.) This Court, including with the assistance and benefit of Special

Master Vanaskie, is more than capable of analyzing the laws of multiple states—and has done so

on multiple occasions in this MDL already. (See, e.g., ECF Nos. 919-1, 1359-1 through 1359-5

(surveys of substantive state law incorporated into motions to dismiss for failure to state a claim).)

The proper way to address any state law variations, consistent with prior practice, is for SoClean

to have made a Rule 12(b)(6) motion to dismiss and accompanied it with an appendix outlining

any relevant variances. SoClean chose not to do so here.10

               SoClean objects to the Philips parties’ contribution claims in just four states and

argues that these supposed deficiencies justify striking the entire Master Complaint. (SoClean Br.

at 15.) SoClean’s objections do not withstand basic scrutiny on the substantive merits, let alone

the procedural ones. For example, the Philips parties agree with SoClean that no contribution


10
        The Philips parties spent significant resources considering any state-level variations when
they carefully drafted their Master Complaint and identified which theories of injury (not all)
should be asserted under which states’ laws (not all). SoClean ignores that the Philips parties have
not asserted claims under all 50 states’ laws. SoClean also ignores that the Philips parties have
not asserted the same contribution theories across all of the remaining 34 states’ laws. For
example, in New York, the Philips parties sought contribution only with respect to non-settling
device users (Am. Compl. ¶ 168), whereas the Philips parties sought contribution with respect to
both settling and non-settling device users in Nevada (Am. Compl. ¶¶ 158-59). This was all
consistent with the applicable state law, which SoClean largely ignores in its brief.

                                                -13-
     Case 2:21-mc-01230-JFC             Document 3018          Filed 10/24/24       Page 19 of 23




remedy is available with respect to the New York-based consumer plaintiffs opting into the

settlement. It is for this exact reason that the Philips parties’ request for contribution on the New

York count was limited to “Device Users who do not participate in the Settlement Fund.” (Am.

Compl. ¶ 168 (emphasis added).)

                SoClean also confuses the contribution laws of Kansas and Nebraska, suggesting

that Comeau v. Rupp, a Kansas case analyzing Kansas law, states that Nebraska does not

recognizes a right to contribution between tortfeasors not originally joined by a plaintiff. 762 F.

Supp. 1434, 1439 (D. Kan. 1991) (“The right to contribution is equally restrictive in Kansas . . . .”).

But Nebraska law cases, such as Reese v. AMF-Whitley, make clear that “there is no absolute bar

to contribution among negligent joint tortfeasors,” including in the context of “an independent

action for contribution by the original defendant.” 420 F. Supp. 985, 987 (D. Neb. 1976). The

Philips parties knew all of this when they drafted their Master Complaint, and that is precisely why

they asserted contribution claims under Nebraska law, but not Kansas law. (See Am. Compl.

¶¶ 153-56.)

                Finally, SoClean’s objections under Pennsylvania and Oklahoma law stem from a

flawed and incorrect reading of Paragraphs 2 and 14 of the Master Complaint. SoClean suggests

that it is inconsistent for the Philips parties to plead that (i) the liability claims of non-settling

plaintiffs are meritless and (ii) if a jury finds that those liability claims do, in fact, have merit, then

SoClean is at least partially responsible. (SoClean Br. at 15-16.) There is no inconsistency here.

In a similar vein, SoClean objects that the Philips parties cannot use the phrase “either in whole or

in part” in the Master Complaint when describing SoClean’s apportionment of responsibility under

Pennsylvania and Oklahoma law. (Id. at 15.) Setting aside the nonsensical notion that the entire

Master Complaint should be stricken as a result of this standard language, “[p]leadings under



                                                   -14-
    Case 2:21-mc-01230-JFC           Document 3018        Filed 10/24/24      Page 20 of 23




alternative theories may be plausible, and thus sufficient to withstand a motion to dismiss even if

one or both theories both ultimately fail.” Forrester Lincoln Mercury v. Ford Motor Co., 2012

WL 1642760, at *6 (M.D. Pa. May 10, 2012). These “alternative pleadings are common,

encouraged, and employed as a matter of general practice.” Id. The assessment of who is liable

and in what proportion is for another day, and certainly does not warrant striking the Master

Complaint.

                                        CONCLUSION

               The Court should deny SoClean’s and DW’s motions.




                                               -15-
  Case 2:21-mc-01230-JFC   Document 3018     Filed 10/24/24   Page 21 of 23




Dated: October 24, 2024         Respectfully submitted,

                                 /s/ Erik T. Koons
                                Erik T. Koons (NY Bar No. 2941102)
                                (erik.koons@bakerbotts.com)
                                Sterling Marchand
                                (sterling.marchand@bakerbotts.com)
                                (DC Bar No. 1001065)
                                BAKER BOTTS LLP
                                700 K Street, NW
                                Washington, DC 20001
                                Tel: (202) 639-7700
                                Fax: (202) 585-1086

                                 /s/ Andrew T. George
                                Andrew T. George (PA Bar No. 208618)
                                (andrew.george@bgblawyers.com)
                                BOURELLY, GEORGE + BRODEY PLLC
                                1050 30th Street, NW
                                Washington, DC 20007
                                Tel: (202) 753-5012
                                Fax: (703) 465-8104

                                Counsel for Philips RS North America LLC


                                 /s/ Michael H. Steinberg
                                Michael H. Steinberg (CA Bar No. 134179)
                                (steinbergm@sullcrom.com)
                                SULLIVAN & CROMWELL LLP
                                1888 Century Park East
                                Los Angeles, CA 90067
                                Tel: (310) 712-6670
                                Fax: (310) 712-8800


                                 /s/ William B. Monahan
                                Tracy Richelle High (NY Bar No. 3020096)
                                (hight@sullcrom.com)
                                William B. Monahan (NY Bar No. 4229027)
                                (monahanw@sullcrom.com)
                                SULLIVAN & CROMWELL LLP
                                125 Broad Street
                                New York, NY 10004-2498
                                Tel: (212) 558-4000
                                Fax: (212) 558-3588

                                  -16-
Case 2:21-mc-01230-JFC   Document 3018    Filed 10/24/24    Page 22 of 23




                              Counsel for Koninklijke Philips N.V., Philips
                              Holding USA, Inc., Philips North America LLC,
                              and Philips RS North America Holding
                              Corporation




                                -17-
    Case 2:21-mc-01230-JFC           Document 3018        Filed 10/24/24     Page 23 of 23




                                CERTIFICATE OF SERVICE

       I certify that on October 24, 2024, the foregoing document was filed electronically with

the Clerk of Court, using the CM/ECF system. Notice of this filing will be sent to all parties who

have appeared of record by operation of the Court’s ECF system.



                                                      /s/ Michael H. Steinberg
                                                      Michael H. Steinberg




                                              -18-
